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Anthony G. Thomas
7725 Peavine Peak Court ZS JUL 19 AMI: 27
Reno, NV 89523 le a.
Tel: (408) 640-2795 US. DANY CUPP OM meson y
E-mail: atemerald2 @ gmail.com MeUT AL SOUT Sing
Debtor In Propria Persona
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA - RENO
IN RE: Case No. BK-N-14-50333-GS
Case No. BK-N-14-60442-GS
ANTHONY THOMAS and (Jointly Administered)

CHAPTER 7

NOTICES OF APPEAL FROM ORDERS

WENDI THOMAS
)
VOID ON THEIR FACE

AT EMERALD, LLC
Debtors. IN VIOLATION OF FUNDAMENTAL

U.S. CONSTITUTIONAL DUE PROCESS

RIGHTS - REPEATED VIOLATIONS OF BK

COURT LOCAL RULE 9021; REQUEST

FOR EMERGENCY EX PARTE STAY OF

PROCEEDINGS TO PREVENT SALE
OF THOMAS EMERALD ON 7-19-2019

)
PLEASE TAKE NOTE that Debtor Anthony G. Thomas hereby appeals from:

1. Judge Spraker’s Sales Procedures Order - ECF/DE 510 filed on 7-12-2019 that
is void on its’ face due to failure to comply with Reno BK Court Local Rule 9021.
A copy of the Order that is Void on its’ face is attached hereto as Exhibit A.

2. Judge Spraker’s Order re: Pending Motion and Debtor's Request for Stay of
Proceedings filed as DE 512 on 7-12-2019, attached hereto as Exhibit B.

3. Judge Spraker’s Ruling from the Bench of 6-4-2019 wherein he refuses to rule on
Debtor's Motion for Judicial Notice of Law and Facts in Opposition to the
Trustee’s Motion to sell the Thomas Emerald without compliance with the U.S.
Bankruptcy Code and Rules governing Notices required to be given prior to any
proposed use or sale of Estate property pursuant to BK Code Section 363(b) and
Rules 6004 and 2002. The Judge’s refusal to rule on Debtor’s Motion for Judicial
Notice is evidenced by the 40 page transcript of the hearing filed as ECF/Docket
Entry 500 filed on 7-3-2019 that is incorporated herein by reference. Ex hi bi tC

4. Debtor needs a stay of proceedings in light of his Motion for Judicial Notice (DE
508 filed on 7-8-2019) in Support of his Rule 60(b)(4) Motion to Vacate (DE 509
filed on 7-8-2019) Judge Beesley’s Void 8-22-2014 Conversion Order that is to
be heard before Judge Spraker on 9-13-2019. If the underlying Conversion
Order is Void, then so is the 7-19-2019 attempted sale of the Thomas Emerald.

5. Debtor further requests an Emergency Ex Parte stay of proceedings from this

- -1-
~~~ DEBTOR ANTHONY G. THOMAS NOTICES OF APPEAL —

 
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Court in light of the likelihood that Judge Spraker will deny his request for a stay
that Debtor will nonetheless file in the BK Court prior to the 7-19-2019 sale Gate
and in light of Judge Spraker’s refusal to take Judicial Notice that the purported
sale of the Thomas Emerald is Void on its’ face. Irreparable harm will occur to
Debior if the illegal sale proceeds in violation of the rule of law. The current
highest bidder turned out to be Ken Tersini, the principal of Kenmark Ventures
LLC and none other than the notorious human trafficker’ and enslaver and
exploiter of foreign labor Ken Tersini, and the one that procured the fraudulent
judgment with the collusion of the Debtor's disbarred attorney Michael Morrissey
in the underlying Judgment of the Santa Clara Superior Court that is the issue
that forced Debtor into Bankruptcy Court in the first place. Debtor also needs a
stay so he can file his Motion to Vacate the $5 million Santa Clara County
Superior Court Judgment that was procured by Fraud Upon the Court.

7-1% 2019. Respectfully submitted,

 
  

 

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as evidenced by his despicable conduct in the Slavery Towers affair in San Jose
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“DEBTOR ANTHONY G. THOMAS NOTICES OF APPEAL

 
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Exhibit A

Exhibit A

 
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CASE 14:80333-G8 BSESEO ERLE e7b1b1s7/52° Pages bP2°7

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2
3 Honorable Gary Spraker
United States Bankruptcy Judge
4 Entered on Docket
5 [July 12, 2019 UNITED STATES BANKRUPTCY COURT
6 DISTRICT OF NEVADA
7 * KK OK KOK
8 || In re: ) Case No, BK-14-50333-gs
) Case No. BK-14-50331-gs
9 || ANTHONY THOMAS and )
) (Jointly Administered)
10 || WENDI THOMAS, )
) Chapter 7
11 | AT EMERALD, LLC, )
) Hearing Date: July 19, 2019
12 Debtors. ) Hearing Time: 1:00 p.m.
)
13
SALE PROCEDURES ORDER
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On June 4, 2019, the court conducted a status and scheduling conference regarding the
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chapter 7 trustee’s efforts to sell the “Thomas Emerald,” consisting of a 21,000 carat emerald.
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As a result of that hearing, the court scheduled a final evidentiary hearing on the trustee’s
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Motion for Order Confirming Sale by Auction; Request for Approval of Payment of
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Commission to Stremmel Auctions (ECF No. 430) on July 19, 2019 at 1:00 p.m. in the Clifton
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Young Federal Building, 300 Booth Street, Bankruptcy Courtroom, Fifth Floor, Reno, Nevada.
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The court also requested that trustee’s counsel draft an order setting out the procedures for the
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sale should qualified, competing bids be received. On July 9, 2019, counsel for the trustee
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lodged a proposed Sales Procedure Order, to which Anthony Thomas objected. Mr. Thomas’s
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objections were included with the proposed order. By a separate Order (1) Regarding Pending
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Motions and Debtor’s Request for Stay of Proceedings, and (2) Overruling Debtor’s Objections
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to the Trustee’s Bid Procedures Order, the court has considered and overruled Mr. Thomas’s
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objections to the proposed order for the reasons stated, and incorporated herein. Nonetheless,
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the court enters its own order to note the procedural history of this order, but will incorporate

 
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the substance of the proposed order. Therefore, to participate in the auction of the Thomas
Emerald, .

IT IS ORDERED THAT any interested purchaser must provide evidence of ability to
bid cash or cash equivalent at the hearing. The opening bid for the Thomas Emerald is
$21,500. Incremental overbidding will be at $2,500 per bid. A Buyer’s premium of 10% over
the successful bid price will be charged.

IT IS SO ORDERED.

* OK OK
Copies sent to all parties via CM/ECF ELECTRONIC NOTICE and via U.S. Mail to:
ANTHONY THOMAS

7725 PEAVINE PEAK COURT
RENO, NV 89523

 
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Exhibit B

 

 
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Af

Honorable Gary Spraker
United States Bankruptcy Judge

 

 

Entered on Docket
July 12, 2019 UNITED STATES BANKRUPTCY COURT

 

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DISTRICT OF NEVADA

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In re: Case No. BK-14-50333-gs
Case No. BK-14-5033 1-gs
ANTHONY THOMAS and
(Jointly Administered)

WENDI THOMAS,
AT EMERALD, LLC,

Chapter 7

Debtors.

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ORDER (1) REGARDING PENDING MOTIONS AND
DEBTOR’S REQUEST FOR STAY OF PROCEEDINGS, AND
(2) OVERRULING DEBTOR’S OBJECTIONS TO THE TRUSTEE’S
BID PROCEDURES ORDER

On June 4, 2019, the court held a status conference regarding the chapter 7 trustee’s
(Trustee) motion to sell certain personal property of the debtors, namely the emerald referred to
as the Thomas Emerald (ECF No. 430) (Sale Motion). For the reasons stated on the record at
that hearing, the court scheduled a final evidentiary hearing regarding the Sale Motion for July
19, 2019 at 1:00 p.m. The court also requested that counsel for the chapter 7 trustee prepare an
order establishing the bid procedures applicable for the auction.

On July 8, 2019, debtor Anthony Thomas (Thomas) filed two motions, among other
documents. The first is his Notice of Motion and Motion for Judicial Notice of Law & Facts
ISO Rule 60(b)(4) Motion to Vacate Void 8-22-2014 Conversion Order (ECF No. 508)
(Judicial Notice Motion). The hearing on the Judicial Notice Motion was set at Mr. Thomas’s
request for September 13, 2019. The second motion recently filed by Mr. Thomas is captioned,
Notice of Rule 60(b)(4) Motion & Motion to Vacate Order Void on Its Face in Violation of

U.S. Constitutional Due Process Rights; Request for Stay (ECF No. 509) (Rule 60(b) Motion,

 
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and together with the Judicial Notice Motion, the Motions). Mr. Thomas has requested that
this motion be set to be heard in October.

On July 11, 2019, the trustee lodged his Proposed Sale Procedures Order. The lodged
order actually references an attachment which is the proposed order indicating that Mr. Thomas
has disapproved the form of the order, and including a statement of objection.’ Mr. Thomas
contends that the proposed order is late, is void because trustee’s counsel failed to submit the
proposed order to him prior to filing it and serving it on the creditor matrix. He further argues
that as a result, the court’s prior order dated June 21, 2019 is also void. The court did not enter
an order on June 21, 2019. The trustee filed his Notice of Continued Hearing on Motion for
Order Confirming Sale by Auction; Request for Approval of Payment of Commission to
Stremmel Auctions (ECF No. 498). The court finds no merit in Mr. Thomas’s objection to the
proposed order. As the lodged order includes an objection to the form of the order, Mr.

Thomas has received notice of the proposed order. Because no other party other than Kenmark
Ventures, LLC appeared at the status hearing, and no other party has objected to the relief
sought, no additional notice or signatures were required. Moreover, Mr. Thomas does not have
standing to object on behalf of other parties such as Kenmark Venture. In accordance with
Local Rule 9021 governing entry of orders, the court overrules Mr. Thomas’s objections and
shall enter the proposed order lodged by trustee’s counsel.

The court has briefly reviewed the Motions. The request for judicial notice asks the
court to consider its prior actions and matters that occurred during the August 22, 2014 hearing.
Mr. Thomas has attached a transcript of that hearing. The court has reviewed the Judicial
Notice Motion and notes that the facts referenced therein do not appear to be in dispute, or are

otherwise inappropriate for judicial notice. Accordingly, the court will not require a separate

 

' Mr. Thomas also included the court’s law clerk in an email regarding the objection to the
proposed order. The debtors are instructed to not do so in the future. Rather, the process for
disapproving the form of an order is set forth in Local Rule 9021(b)(2).

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hearing on the Judicial Notice Motion, and instead will set both Motions for hearing on
September 13, 2019, thus satisfying the requirements of Fed. R. Evid. 201(e).’

The Rule 60(b) Motion requests that the court vacate its prior order converting this case
from chapter 11 to chapter 7 (ECF No. 190) (Conversion Order). Mr. Thomas also includes a
request to stay all proceedings in this case pending resolution of the Motions. At Mr. Thomas’s
request, this motion has been set for hearing on September 13, 2019, well after the July 19,
2019 sale of the Thomas Emerald. Thomas has not explained why either motion may not be
heard on an earlier date. He has not taken any action to do so, or requested that the court
consider a stay prior to the July 19, 2019 hearing on the sale of the Thomas Emerald.
Furthermore, the court is concerned by Thomas’s request that all proceedings in this case be
stayed pending resolution of the Motions, especially since he has scheduled consideration of
those motions well after the hearing date for the sale itself. The filing of the Rule 60(b) Motion
does not stay the proceedings of the court. To the extent that Mr. Thomas intends to ask the
court to stay the sale scheduled for July 19, 2019, it is incumbent upon him to take such actions
before the sale occurs. He has not done so to date; placing a request for relief within another
motion (to void the order of conversion) and scheduling it months after the sale is not
sufficient. Any such request is not properly before the court at this time. Accordingly, as there
is no request currently before this court to stay the sale scheduled for July 19, 2019, the court
will consider the Rule 60(b) Motion, and the request for stay, on the date requested by debtor
absent further action by the debtor to appropriately bring such matter before the court.

For these reasons,

 

2 The court also notes that in the Rule 60(b) Motion, Thomas contends that the undersigned
“has refused to rule on Debtor’s Motion for Judicial Notice with regards to the sale of the Thomas
Emerald.” ECF No. 509, p. 2:4-6. This is simply untrue as the court has stated that it will consider and
rule on the request at the time of the substantive hearing. See Transcript of June 4, 2019 Hearing, ECF
No. 500, p. 18:20-19:3 (“Mr. Thomas: Will you rule on our judicial notice motion? Court: I will
consider all matters. I’m likely to not rule on anything prior to. Mr. Thomas: But you will take judicial
notice of the facts and laws that we present you. Court: Sir, I will allow — I— I’ve seen that. I have not
gone through it in any great length, but the — I will hear your position, and then I will decide how to
proceed.”).

 
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IT IS HEREBY ORDERED that the court will hear both the Notice of Motion and
Motion for Judicial Notice of Law & Facts ISO Rule 60(b)(4) Motion to Vacate Void 8-22-
2014 Conversion Order (ECF No. 508) and the Notice of Rule 60(b)(4) Motion & Motion to
Vacate Order Void on Its Face in Violation of U.S. Constitutional Due Process Rights; Request
for Stay (ECF No. 509) on September 13, 2019 at 9:30 a.m.

IT IS FURTHER ORDERED that Mr. Thomas’s objections to the form of the trustee’s
Proposed Sale Procedures Order are overruled, and the court shall enter the proposed order.

IT IS SO ORDERED.
kK
Copies sent to all parties via CM/ECF ELECTRONIC NOTICE and via U.S. Mail to:
ANTHONY THOMAS

7725 PEAVINE PEAK COURT
RENO, NV 89523

 
Case 14-50333-gs Doc 520 Entered 07/19/19 11:57:00 Page 11 of 52

Exhibit C
 

 

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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA (RENO)

IN RE: . Case No. 14-50333-g9s
Chapter 7

ANTHONY THOMAS and .

WENDI THOMAS, . 300 Booth street
Reno, Nevada 89509

Debtors.

Tuesday, June 4, 2919
2:02 p.m.

TRANSCRIPT OF STATUS AND SCHEDULING CONFERENCE RE:
MOTION TO SELL FILED BY JEFFREY L. HARTMAN
ON BEHALF OF JERI COPPA-KNUDSON [430]
BEFORE THE HONORABLE GARY SPRAKER VIA VIDEO CONFERENCE
UNITED STATES BANKRUPTCY COURT JUDGE

APPEARANCES:

For the Chapter 7 Hartman & Hartman

Trustee: By: JEFFREY L. HARTMAN, ESQ.
510 West Plumb Lane, Suite B
Reno, NV 89509
(775) 324-2800

Chapter 7 Trustee: JERI COPPA-KNUDSON, ESQ.

3495 Lakeside Drive, PMB #62
Reno, NV 89509
(775) 329-1528

TELEPHONIC APPEARANCES:

For the Debtors: ANTHONY THOMAS, Pro Se
7725 Peavine Peak Court
Reno, NV 89523

For Kenmark Ventures: WAYNE A. SILVER, ESO.
333 West El Camino Real, Suite 310
Sunnyvale, CA 94807
(408) 720-7007

Audio Operator: Tlluminada Starzyk, ECR

Transcription Company: Access Transcripts, LLC
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(Proceedings commence at 2:02 p.m.)

THE COURT: (Via video conference) Good morning,
Madam -- or good afternoon, Madam Clerk. This is
Judge Spraker. Is everyone ready to appear?

THE CLERK: Good afternoon, Judge. Yes, everyone is
present and ready for you.

THE COURT: All right. If you will call the case,
then, please.

THE CLERK: Yes, sir. The matter that we have on
today's calendar is Case Number 14-50333. It's the case of
Anthony and Wendi Thomas. In regards to Docket Number 430,
it's a status and scheduling conference in regards to the
motion to sell.

THE COURT: Thank you. Please be seated. All right.

As the court clerk just mentioned, we are on record
in Thomas regarding a status and scheduling conference set in
this matter by the Court. I can only see the podium primarily,
so let's start with people approaching the podium and entering
their appearance.

Mr. Hartman, if you'd lead us off.

MR. HARTMAN: Good afternoon, Your Honor.

Jeff Hartman, on behalf of trustee Jeri Coppa-Knudson.
MS. COPPA-KNUDSON: Jeri Coppa-Knudson, trustee.
THE COURT: Thank you, Ms. Coppa-Knudson.

All right. Anyone else in the courtroom?

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MR. HARTMAN: Nobody else in the courtroom,
Your Honor.

THE COURT: All right.

MR. HARTMAN: I think they're --

THE COURT: Mr. Hartman --

MR. HARTMAN: I think they're telephone --

THE COURT: Go ahead.

MR. HARTMAN: ~- telephone appearances, Your Honor.

THE COURT: Thank you. Then let's take those on the
telephone.

MR. THOMAS: (Telephonically) Your Honor, this is
Anthony Thomas.

THE COURT: All right, Mr. Thomas. Thank you.
Somebody else was also on the line?

MR. SILVER: (Telephonically) Good afternoon,
Your Honor. Yes, Your Honor. Good afternoon. Wayne Silver,
appearing for Kenmark Ventures, LLC.

THE COURT: All right. Thank you, Mr. Silver.

Okay. Thank you. Obviously, I am the judge that's
been appointed after Judge Beesley recused himself. I ama
visiting judge from the District of Alaska. I have been
helping cut in the District of Nevada for, jeez, it's about to
be six years here soon. So unfortunately, I do the initial
matters ky video, if possible, and then try to take whatever

matters that may be necessary -- I will be down in Reno.

ACCESS TRANSCRIPTS, LLC = 1-855-USE-ACCESS (873-2223)

 
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I thought it was necessary to set this matter on and
have this initial discussion to see where the parties believe
the matter was left after the last hearing in which
Judge Beesley recused himself. There being no real activity on
the docket before then, I thought it was most simple just to go
ahead and set this matter for a hearing.

Mr. Hartman, as representative of the movant in the

motion to sell, I'll let you have the first crack. But let me

tell you what I've seen -- and all the parties, for that
matter -- from what I've seen from my review of the docket.
Primarily, this is -- the relief requested is

approval of a motion of sale of the emerald that is at issue.
The sale is a result of an auction that was not subject to any
prior motion prior to the auction, and so, in my view, it comes
to us as -- really as a sale to a private party, but with the
auction behind it to Support it.

I know that Mr. Thomas has challenged or made several
challenges. Primarily -- or the first was to challenge the
validity of the notice; also challenges the approval of the
sale; and seems to have challenged the payment of some expenses
to the auctioneer. So I want to know what else is being
challenged or subject to the Court's consideration, where we
are, and where we go from here. So, Mr. Hartman, with that
introduction --

MR. HARTMAN: Thank you, Your Honor.

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THE COURT: -- take it away.

MR. HARTMAN: I'll -- I guess I'll begin by the
process. The trustee has possession of the emerald. She
recovered possession early on in the case. She went to Florida
to retrieve it. And --

THE COURT: And, Mr. Hartman, I apologize. I should
have said this. I've read as much as I could, so I know the
history and the back story. We can get into what's evidence
and what isn't at a later date, but really I just want to try
to get a handle as to where things are, whether this matter
should be deemed submitted, or whether we need to schedule a
further evidentiary matter, and if so, on what issues or all
issues.

MR. HARTMAN: Well --

THE COURT: So I'm going to ask all parties to ignore
the history and the context at the moment. I just want -- you
know, for lack of better -- just figure out the scheduling and
the status, actually. I should have started with that.

MR. HARTMAN: Certainly, Your Honor. The --

Mr. Thomas has questioned the procedure leading up to the
hearing that was held at which Judge Beesley recused himself.
And the issue, as I understand it, by Mr. Thomas is that the
option wasn't properly noticed. The procedure that was
followed was that the auction was conducted but the sale had to

actually be confirmed by the Court, and anybody that wanted to

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appear and overbid would be able to do so, provided that they
had legitimate funds.

At the hearing on the motion to approve the sale,
Judge Beesley actually conducted the hearing and recused
himself at the end. He never ruled on -- he never said, I'm
going te enter an order approving the sale. So we have a
motion that's in limbo and it can be reset at any time; or if
the Court ultimately determines the trustee needs to re-notice
the sale or engage in a different process, we can do that.

THE COURT: Okay. So where do you believe the
evidentiary matters were left? There was some -- there was
testimony -- limited testimony from Mr. Thomas. There was more
testimony from Mr. Stremmel. What does the trustee want to do,
other than sell the emerald? What do you want to do
procedurally at this point?

MR. HARTMAN: Well, in my ideal situation,

Your Honor, I would like Mr. Thomas to be directed to supply
any information he has to the trustee with respect to potential
purchasers of the emerald who might be willing to pay more, and
we'll obviously notice them and invite them to appear at the
hearing, and the Court conduct an auction, basically, and the
highest bidder will prevail. I --

THE COURT: I o--

MR. HARTMAN: I believe the record is clear that

notice of the hearing on the sale was proper. Actually it was

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more than proper under the rules and the time required. So

| from that standpoint, I think the trustee's on solid ground.

And eventually, you know, she's charged with liquidating the
assets. She continuously has to report to the United States
Trustee on the status of this case, and that's getting to be a
challenge.

But it's at issue, and we can reset a hearing and
conduct a hearing, and Mr. Thomas can appear and object to
Your Honor, and you can rule on the issues at that point in
time.

THE COURT: Okay. Mr. Thomas, let's hear from you.
What do you think should be the next step in this process?

MR. THOMAS: Your Honor, I think that the sale should
be void on its face because they didn't follow Rule 363(b) or
Rule 6004 and 2002. They didn't notice all creditors or myself
21 days prior to the sale.

And I believe that the sale was a collusive sale. It
was -- the only people that were notified of the sale was
Ken Trazini (phonetic) and Mr. Silver and the auctioneer put
them down as emerald experts. So I believe that the sale was
collusive and they should be void. And I think that a new
auctioneer should be picked.

You know, there was Overstock.com, and I think that,
you know, they're a more appropriate auctioneer for this type

of emerald, or Sotheby's, or any of the big auctioneer firms

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for one of the single largest emeralds in the world.

And I think the whole process has been undermined and
not followed the rules. There was no reason for them not to
notify me or the creditors 21 days prior to the sale. And, you
know, there are rules in the Bankruptcy Court for a reason, and
they dicn't follow the rules. So I believe that the sale
should be void, and I think that they should start from the
beginning and pick an auctioneer that's not a local auctioneer
that they know, and pick a good public auctioneer that can get
the most money for the emerald.

There's also some very -- some underlying issues,
Your Honor, that I've been trying to get filed in the
Santa Clara Bankruptcy Court if -- I was forced into
Bankruptcy Court by a fraudulent settlement. And I'm trying to
get these papers filed in Santa Clara, but every week I have to
deal with another issue. And, you know, I -- hopefully I'll be
able to get those filed within the next two weeks.

But the whole reason I'm in bankruptcy in the first
place is because my attorney was told by the State Bar the day
before the settlement that he wasn't allowed to try my case.
They wrote him a letter and said that he was ~- wasn't allowed
to go forward. And he settled my case with Kenmark, and they
told me that I had no liability. And a year and a half later,
they came after me for a payment for $500,000, and my attorney

that colluded with Trazini's attorney, told me I had -- you

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know, the only thing I could do was file for bankruptcy, which
IT have now found is not an option. And I believe that the
whole reason that I was forced into bankruptcy is void.

And I was also illegally converted from Chapter 7 to
ji, because Judge Beesley took away my counsel, and I was
represented and so was my LLC, AT Emerald, which can't appear
in front of a court without representation. And that's when
the conversion happenec. And I askec Judge Beesley for a
two-week continuance sc that I could get counsel, and I was
denied.

So my -- on the grounds of 60(b), I believe that my
constitutional rights were taken away, and the trustee should
have never had the right to sell the emerald in the first
place. So on those issues there, that's where I stand.

And then I also filed in my brief that the John Beach
case that I won on the appeal was dismissed a year later has
now been brought back to life without Judge -- an order from
Judge Beesley or yourself. Judge Beesley recused himself, and
you just got into the case and are listening to us for the
first time, but it was put on the docxet again, and it's
Docket 77, on 5/29.

This case has been reopened after it was already
closed and dismissed. So I don't know how that happened
without approval from you, Your Honor, or Judge Beesley.

THE COURT: Okay. Thank you. We are here only on

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the status of scheduling for the motion to sell. I appreciate
your comments on the other matters, but they'll proceed however
they proceed. We are simply trying to figure out what the next
step is for the motion to sell at the moment. So that gives me
an overview of the case, but we're going to stick to the motion
to sell.

So, Mr. Silver, your comments.

MR. SILVER: Thank you, Your Honor. Wayne Silver,
appearing telephonically.

Your Honor, I agree with Mr. Hartman. I think that,
to the extent that there's any issues regarding notice, any
possibility that there might be somebody out there willing to
bid more, it should be explored. And so I'm not at all adverse
to having the sale re-noticed, to giving notice to the world,
if you will. Mr. Thomas can supply any information he wants to
regarding any potentially-interested buyer. And as long as
they come in with hard dollars and not, you know, funny money,
I'm perfectly aligned with the trustee, because I think we're
both looxing to accomplish the same goal, which is to maximize
the value of the emerald.

THE COURT: That's an interesting point, Mr. Silver.

Mr. Hartman, what is -- in reviewing the transcript
and the other matters, the concept of an overbid has been out
there and there's usually some kind of reference to, you know,

hard money or whatever. What does that mean in this case?

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What do you -- if we set this for another hearing, which is
essentially approval of -- your continuation of the hearing to
approve the sale subject to overbids, presumably noticing out
that anybody who wants to overbid may do so, essentially having
another auction at the commencement of the next hearing, what
are the requirements for that overbid?

MR. HARTMAN: Well, Your Honor, our practice normally
is to ask the Court to set whatever the incremental overbid
numbers are. But, you know, it's -- usually, on a sae of
this, you know, size, it would be increments of 2,500 or
$5,000. And -~

MS. COPPA-KNUDSON: If --

MR. HARTMAN: -- the trustee --

MS. COPPA-KNUDSON: I'm sorry.

MR. HARTMAN: The trustee would like to address the
Court --

MS. COPPA-KNUDSON: Yeah.

MR. HARTMAN: -~- Your Honor.

MS. COPPA-~KNUDSCN: I o--

THE COURT: Go ahead, ma'am.

MS. COPPA-KNUDSON: I spoke to the auctioneer this
morning, and he indicated that our last high bidder has
Withdrawn his offer. So we do not even have that offer at --
that is my understanding at this moment. So that was what he

told me this morning.

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So I have no idea -- we can go back to them and see
i= that last offer that they made is still viable, but his
indication to me this morning was that that offer has been
withdrawn.

THE COURT: So the offer from Jennifer Judoin
(phonetic) at twenty-one five hundred or twenty-five --
whatever it was -- has been withdrawn?

MS. COPPA-KNUDSON: That's my understanding,

Your Honor.

MR. HARTMAN: Your Honor, this is Jeff Hartman, for
the record. I think Mr. Silver can address that, because that
claim -- or that purchase position was assigned to Mr. Silver's
client.

MR. SILVER: Wayne Silver, telephonically. That's
ccrrect, Your Honor. The offer was assigned to my client, and
to my knowledge, it has not been withdrawn.

MS. CCPPA-KNUDSON: It has not?

MR. SILVER: That's -- that -- that's -- as far as I
know, it has not been withdrawn. I haven't spoken to anyone
from Stremmel recently. It's possible that there was a
conversation I'm not aware of. But as far as I know, that
offer is still good.

MS. COPPA-KNUDSON: Well, and I would have to verify
that because as of this morning, Steve Stremmel thought that

offer had been withdrawn. Maybe he is wrong.

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MR. SILVER: Okay. We can certainly clear --

MR. THOMAS: Your --

MR. SILVER: -- that up quickly, but as far as I
know, it's good.

MR. THOMAS: Your Honor, I would like you tc make a
ruling on the judicial notice motion that I filed and get a
ruling, and then we could start from scratch. Because I would
like to have a ruling on the evidence that was presented before
you and the judicial notice that I had asked the Court to take
judicial notice of.

THE COURT: Thank you. Well, what I am hearing is
that the trustee is not opposed to seeing if anyone else --
well, what I originally thought I heard was that the trustee's
not opposed to having another hearing which anyone could
overbid the amount of the current offer to Ms. Judoin, who was
assigned. There's some question whether that offer is still
outstanding. That's the first question that has to happen. If
there's no offer, there's no motion to sell and that -- restart
again. How we restart again would be probably the subject from
another status conference.

If that offer is still valid, I think that it is
worthwhile to see where that takes us and reset that as another
notice of essentially another auction for anybody wanting to
make a bid in the proper increment above the accepted offer on

the terms that the trustee, you know, proposes and the Court

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would approve, meaning the increments of any subsequent bids
and the money that had to be put up or the means to establish
the money to qualify as an appropriate bid.

So, Mr. Hartman, the first question is do -- does the
trustee want about a week or so to figure out whether or not
that bid's out there?

MR. HARTMAN: Yes, Your Honor. We would certainly do
that.

THE COURT: Okay. So what I am looking at is trying
to be in Reno on Friday, July 19th. That would be the date --
I now have two matters I am presiding over out of Reno. Going
to set tnat aside for both matters. Presently, I don't think
the other matter has any heavily substantive things scheduled
for that day, so if we need to set aside the afternoon of that
day for this hearing, in whatever shape it ultimately comes to,
then, you know, I think that's fine.

I am not going to rule on the judicial notice motion.
I will say, however, that you can take as my operating
Structure that if a notice goes out with more than 21 days
notifying people of a continued evidentiary hearing in which
bids certain to subject considerations and requirements will be
considered and cause, in effect, another auction, that would
strongly lead me to believe that any harm that was caused has
been remedied and either is moot or harmless at that point.

To the extent that anybody believes that that is

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legally incorrect, we'll talk about that on the 19th. So we
have plenty of time between now and the 19th, even with --
given a week to get -- allow the trustee to figure out the
exact lay of the land as to the pending offer. My thought is
that that afternoon of the 19th would be an evidentiary
hearing. There are a number of people that have provided
declarations. Mr. Stremmel actually was examined.

My intent is that if we go to another evidentiary
hearing, it will be evidentiary. We'll have the auction,
wherever that takes us. And then we will have evidence to
approve that, and to the extent that it is requested, to allow
the Court to address the good-faith nature of any ultimate
buyer.

That means there will be testimony and then there
will be argument. We will not have a running argument
throughout the testimony. So we're going to treat this as an
evidentiary matter, essentially a trial, and that is how it's
going to go.

So, Mr. Hartman, we can come back in a week and reset
deadlines, if you like, or if you believe that's not necessary
and you'll notice it out, then I do want sufficient time for
objections and a reply prior to the hearing.

MR. HARTMAN: Your Honor, thank you. What I was
thinking about is we can verify whether or not the offer is

still open. And what I -- one suggestion is that I would

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Simply file a notice; it's obviously not separate hearing, it
just the notice that the offer remains pending. And then Ic

notice up the hearing appropriately and the rules and the

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opposition dates in the rules would apply. So we don't need a

briefing scheduled beyond what's in the rules.

THE COURT: Well, that -- and that -- that's fine.
mean, a lot of ink has been spilled on this matter, and both
for and against.

First, any notice, however it goes, must include a
Statement that bids in a certain amount will be considered.
mean, the notice that goes out setting the hearing needs to
also provide the information regarding what has to happen at
that hearing te turn it into an action.

MR. HARTMAN: Oh, certainly, Your Honor.

THE COURT: Okay. So to the extent that you want t
get a auction procedures order set prior to that, that
certainly makes sense, because I want those locked down
quickly.

MR. HARTMAN: Well, then for -- that -- that's sort
of a separate process, I guess, and I could prepare a propose
order and then circulate it to Mr. Thomas. He can either
approve it or disapprove it and then submit it to the Court,
and it would go out with the notice.

THE COURT: Yes.

MR. HARTMAN: We can do it that way, Your Honor.

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THE COURT: Yeah. That would be great.

MR. THOMAS: Your Honor, this is one of the single
largest emeralds. And I don't think that in between now and
July is enough time to promote this thing around the world to
get the most value for it. They haven't done anything to
promote this thing other than stick it on a website and the --
and spend $200.

THE COURT: Great. You can make all of those --

MR. THOMAS: You're talking one of the single --

THE COURT: -- arguments -- sir, you can make all
those arguments at the hearing. You've made a lot of them
before. I've read the transcript. And we can address that at
the hearing.

I will say, though, that at the hearing, when it's
evicentiary, if someone -- if you have a declaration submitted
and that person is not present to be cross-examined, that
evidence will not come in. Okay? I can't tell what evidence
was accepted at the court or not accepted based upon the
declarations and how it evolved. But at the beginning, we will
go over who was present and whose declaration should be
admitted for direct testimony into evidence. And if that
person is not physically present in the courtroom or has
otherwise been allowed to testify by phone in advance, the
Court is not going to accept that evidence.

MR. THOMAS: Yes, Your Honor. And thank you for

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saying that. The -- Your Honor, the reason that the witnesses
weren't presented is because I never thought the sale would go
through in the first place, because it was void, because they
never nctified me or the creditors according to the rules under
2002 and 6004. There was not proper notice in the first place,
SO 7-7

THE COURT: Well, that --

MR. THOMAS: -- I didn't feel --

THE COURT: That is now resolved. All right? You
are on notice that all witnesses must be present in the
courtroom to provide testimony as a precondition to getting the
declaration admitted into evidence as direct testimony to be
followed by cross-examination. You are not to assume anything
until this Court orders. So we will have whatever is needed
during the afternoon of July 19th to consider and submit
this -- the sale motion. So one shot, one stop, all matters.

MR. THOMAS: Okay. And then -- and what --

THE COURT: All right.

MR. THOMAS: And, Your Honor -- and at that time will
you consider our judicial notice motion? Will you rule on our
judicial notice motion?

THE COURT: I will consider all matters. I'm likely
to not rule on anything prior to.

MR. THOMAS: But you will take judicial notice of the

facts and laws that we present you.

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THE COURT: Sir, I will allow -- I -- I've seen that.
I have not gone through it in any great length, but the -- I
will hear your position, and then I will decide how to proceed.

MR. THOMAS: Okay. Thank you. Thank you,

Your Honor. I appreciate that.

THE COURT: But again, I will urge you to consider
getting competent bankruptcy counsel, because we will apply the
Rules of Evidence. And, you know, I am sensitive to hearsay
comments and matters beyond the scope. So we will deal with
the motion to sell at that time.

MR. THOMAS: And just so I'm clear on the record,
Your Honor, you will take judicial notice of our judicial
notice motion.

THE COURT: I will consider all matters involving the
motion to sell. I understand you filed that motion for
judicial notice in relationship to the motion to sell, so that
will be addressed. I'm not going to take judicial notice --

MR. THOMAS: Okay.

THE COURT: -- it -- it's on the docket. So we will
hear all matters relating to the motion to sell on July 19th.

And, Madam Clerk, I can't recall if you start at one
o'clock or 1:30 in the afternoon there.

THE CLERK: Your Honor, we can start whenever you
would like.

THE COURT: Ail right. I'd like to start at one

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o'clock.

THE CLERK: Yes, Your Honor.

THE COURT: On Friday, July --

MR. THOMAS: Your Honor, what day is the -- it's the
Friday?

THE COURT: Friday, July 19th.

MR. THOMAS: Okay. Thank you, Your Honor.

THE COURT: Certainly.

All right. So, Mr. Hartman, to bring it back around,
do you think -- do you need another hearing prior to getting

out the notice or --

MR. HARTMAN: I don't believe so, Your Honor.

THE COURT: Okay. And you -- then we'll have a
motion to set auction procedures. I imagine that will be
submitted on an ex parte basis?

MR. HARTMAN: Weil, I mean, I can certainly file a
motion, but it seems to me, under the circumstances, just a
proposed form of order setting the option procedures should
suffice if Mr. Thomas has an opportunity to comment.

THE COURT: Well, yeah, you do need to file at least
a perfunctory motion for approval that -- I'm not going to sign
just an order that -- that's submitted as a -- I mean, if it's
a stipulated motion to approve, generally how I do it is even
on a stipulation, there's a stipulation requesting something

and then the order approving the stipulated request.

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I don't know if in Reno you just file the stipulated
order, but generally I'll -- I like to see the docket event and
then the order tied to that docket event --

MR. HARTMAN: Certainly. I'll do that --

THE COURT: -- if you could.

MR. HARTMAN: I'll do that, Your Honor.

THE COURT: You know, whether it's ex parte, what it
Stipulated, I leave to the parties.

MR. HARTMAN: All right. We'll do it, Your Honor.
Thank you.

THE COURT: All right. And, Madam Trustee, you had a
comment. I just wanted to --

MS. COPPA-KNUDSON: Oh, I just thought that the order
that he was going to file was the proposed order, not even a
Stipulated order, but just kind of the outline of what the
order would read, not just for Mr. Thomas's comment if he
didn't agree with what the proposed order of the auction would
be.

THE COURT: I believe that we can short-circuit a lot
of future discussion if there is an order setting the terms of
the hearing for auction, bids, deadlines, and such. Everybody
knows, everybody's on the same page, and then that gets sent
out to the matrix and whoever else you want to send that order
setting it out, and advertising and attempting to get as many

bids as possible.

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MR. HARTMAN: I will do it, Your Honor.

THE COURT: All right. Mr. Silver, any last
comments?

MR. SILVER: No, Your Honor. Wayne Silver.

THE COURT: All right. All right, then -- and,

Mr. Thomas, final word?

MR. THOMAS: No, Your Honor.

THE COURT: All right. Thank you, then. And I'll
look forward to a proposed order and then seeing the notice go
out to the matrix, and let the parties attempt to provide it to
whoever they believe may want to bid. That order, though, I do
believe, should have very clearly in there when any opposition
to the proposed sale is due. While -- you don't have to repeat
what has been out there.

And, Mr. Thomas, to the extent that you have filed
your oppositions, you don't have to renew any of that. If
there's something that comes up between now and the hearing
which you believe is legally erroneous that has not been
addressed, then we can deal with that.

And, Mr. Hartman, going forward, you know, this is a
contested matter. There have been some discussion and forms
put on the last hearing, but I'm considering, if all this goes
out, we don't receive anything, we will go to the hearing on
the existing offer based upon the declarations that are -- have

been filed. And then we'll see who shows up. We'll deal with

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those declarations.

Are you anticipating that any additional evidence
should be taken -- would be taken -- would need to be in the
form of a declaration prior?

MR. HARTMAN: On behaif of the trustee, Your Honor,
no.

THE COURT: Okay. But do you believe if a witness
shows up and is present and submitted for providing testimony
at that, does that witness get to testify or not?

MR. HARTMAN: I would say yes.

THE COURT: Okay. All right. So any witnesses in
support or opposition may be brought. Those that have
submitted a declaration need to be present if they want to
testify or have their declaration accepted as evidence.

MR. HARTMAN: May I ask for --

THE COURT: Se you under --

MR. HARTMAN: -- clarification?
THE COURT: Go -- certainly.
MR. HARTMAN: So I -- my question is, would

Mr. Thomas have the opportunity to bring in a new declaration
from a new witness at this juncture.

THE COURT: Well, that's why I was asking if
additional witnesses would be able to appear. Because if you
say -- if they show up and appear, then yes, he would.

MR. HARTMAN: Well, I -- I'm sorry. I misunderstood.

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I thought you meant from the declarations that he submitted in
advance of the last hearing.

THE COURT: Well, those people are known and at least
have prcevided declarations. So the question I'm getting
about -- to in an oblique manner is do you need an additional
deadline for further declarations in support or opposition of
the motion to sell?

MR. HARTMAN: Well, I guess, yes. I don't expect to
provide any new declarations, but if Mr. Thomas attempts to do
so, I need advance notice.

THE COURT: Okay. Mr. Thomas, are you going to --

MR. THOMAS: Yes, Your Honor.

THE COURT: -- call any additional witnesses?

MR. THOMAS: Yes. I would like to be able to call
whatever witnesses I need necessary to prove my case.

THE COURT: Well, in theory, those witnesses should
have been provided and detailed in the prior hearing.

MR. THOMAS: I didn't believe that the prior hearing
was going to go forward, Your Honor, because I thought it was
void on its face.

THE COURT: Well, that --

MR. THOMAS: It should have never --

THE COURT: That was a mistake. Yeah. I mean,
that -- that's why I urged you --

MR. THOMAS: So --

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THE COURT: -- to think about getting counsel,
because that understanding is a mistake, and I'm trying to make
sure we have no similar misunderstandings going forward.

MR. THOMAS: Your Honor, I have asked this Court, and
I've filed documents with this Court -- I have a disability.
I'm dyslexic. And I've asked this Court to provide me with
counsel since it's taken my counsel away. And I've filed law
based on that in other cases that people with disabilities were
provided with counsel. And so I'm at a disadvantage, because I
do have a disability.

Mr. Hartman and Mr. Silver both know it. The --
Judge Beesley knew it. And, you know, I'm doing the best I can
to make sure that, you know, I preserve my constitutional
rights. And, you know, I would like this Court to provide me
with counsel.

THE COURT: Well, I'm sure a lot of people would like
the Court to provide them with counsel. The Court has no
ability to provide counsel; we are not a criminal court.

MR. THOMAS: I know. But there are cases that say
that people with disabilities like dyslexia are provided with
counsel. And I submitted those cases in a judicial notice
motion that I filed with the Court on the house, and that's why
I wanted you to take judicial notice and make a ruling also on
the Portola house that was illegally taken from my parents.

THE COURT: If you want to make a motion to have the

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Court appoint a counsel for you, you should make a specific
motion, not one for judicial notice. You need to make a motion
for Court to appoint counsel and get it filed.

MR. THOMAS: Okay. I will get -- I would like to --

THE COURT: We are all --

MR. THOMAS: -- have the time to -- Your Honor, I
would like to have the time to make that motion and to get that
filed. So can you --

THE COURT: Well, let me --

MR. THOMAS: -- please give me more time?

THE COURT: -- be clear. Let me be clear. I am
giving all the parties until July 19th to get -- to rehear
this. This gives you well over a month. This matter has been

going on since last November or December, right? So there is
plenty of time out there. And do what you have to, bring
whatever you want, but it -- all I'm trying to find out -- you
have additional witnesses that you want to bring to the hearing
to testify on July 19th. You want to bring whoever you may,
that's fine and dandy. But at some point you have to tell
people who those witnesses are so they can prepare, right?

MR. THOMAS: Yes.

THE COURT: And if you're going to do that, then the
form that has been adopted here which you are able to comply
with was to provide declarations. So --

MR. THOMAS: Yes, Your Honor. But I didn't fully get

 

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to take the -- take -- cross-examine the witnesses to make
sure —-- to know which witnesses I wanted to bring forward.
There's experts like Ronald Ringsrud, who, you know, did the
original appraisals, you know, who I would like to bring
forward as a witness -- as one, but there's many other
witnesses that I'd like to bring forward too.

THE COURT: Okay.

MR. THOMAS: So I'd like to have the time to do that,
because I have to send subpoenas. And, you know, July 19th is
not much time, Your Honor. I -- I'm --

THE COURT: Well, and it -- it's the time you have --

MR. HARTMAN: Your --

THE COURT: -- unfortunately.

MR. HARTMAN: Your Honor.

THE COURT: Mr. Hartman.

MR. HARTMAN: Your Honor, there's an order, and I
don't remember where in the docket it is, that gave Mr. Thomas
adequate time to issue subpoenas, to get all the documents he
wanted. That time came and went. That door is closed, as far
as I'm concerned. This is going to drag on beyond July 19th
now because Mr. Thomas will say, I haven't had an opportunity
to get court-appointed counsel. And I'm just afraid it's going
to go on and on and on. This is an --

MR. THOMAS: I will file --

MR. HARTMAN: This is an administratively insolvent

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estate. And we have a $20,000 emerald we're trying to
liquidate, and it just gets worse and worse and worse.

The case was filed in 2014. Mr. Thomas has had five

years to come up with a buyer for this emerald, and he hasn't
done it.

THE COURT: All right.

MR. THOMAS: I have -- I haven't had five years,
Your Honor. The trustee took the emerald over in the illegal
conversion when they converted me in two thousand -- I can't --
I don't know the docket date, but I think it was in 2014. I'm
not --

THE COURT: All right.

MR. THOMAS: -- Sure on that, but the illegal
conversion where they took my attorney away and converted me
from Chapter 7 to ll.

THE COURT: Again, beyond --

MR. THOMAS: Or Chapter 11 to 7.

THE COURT: -- the scope of the hearing -- again, let
me just say that's beyond the scope of the hearing on setting
the motion to sell. So we're going to have the motion to
sell -- the hearing on July 19th at one o'clock. The question
is whether we do prior to that --

Mr. Hartman, if you're in -- if you're wanting to
know who the witnesses are, I mean, that -- that's -- what are

you wanting out of that? Are you wanting additional

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declarations? Are you wanting final witness list?
MR. HARTMAN: No. No.
THE COURT: What exactly are you wanting?
MR. HARTMAN: No, Your Honor. I'm sorry if I wasn't
clear. The -- there were certain witnesses that should have
been at the hearing for Mr. Thomas, and the -- one wasn't, and

that's why Judge Beesley said, of course, if the witness who
Signed the declaration isn't present to be cross-examined, you
can't introduce the declaration.

So I just want to make sure that there's not going to
be a new person or persons for this next hearing that we have
to anticipate, determine whether or not we need to conduct a

Rule 2004 exam, and so forth. So it's a new prospective

 

witness for Mr. Thomas that I'm addressing, not one of the
existing witnesses.

MR. THOMAS: Your Honor, there was other witnesses
that --

THE COURT: No. But, Mr. --

MR. THOMAS: The --

THE COURT: Mr. Thomas, hold on for a second. Let me
| ask some questions.

So to understand, Mr. Hartman, it's not your position
that while Mr. Mullow (phonetic) wasn't at the first hearing,
if he shows up at the second hearing, is it your position that

he does or does not get to testify?

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MR. HARTMAN: I would say let him testify.

THE COURT: Okay. So we're in agreement, then.

Any of the witnesses that actually show up may
testify for the declarations that were already provided, so
that should be most of the witnesses

Now, for the new witnesses, you don't want anybody --
you don't want to give an opportunity to provide any additional
testimony or witnesses. Is that your point?

MR. HARTMAN: That's correct.

THE COURT: All right. And --

MR. THOMAS: I object to that, Your Honor.

THE COURT: -- Mr. Thomas?

MR. THOMAS: I object to that on the basis that
Mr. Silver has already cross-examined Ronald Ringsrud, and they
didn't want to let in any of that evidence of Ronald Ringsrud's
testimony, as he's an expert. And he's already taken his
deposition in the Kenmark case, and all that evidence should
come in. And if Mr. Ringsrud wants to testify, he should be
able to testify.

And there's also other documents that I would like to
bring in. Ken Trazini filed a (indiscernible) in Florida
claiming that the emerald was worth $500 million. And that
evidence has not been submitted to this case. And I don't want
to be precluded from putting in evidence that should be allowed

into this hearing.

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THE COURT: All right. So here's what we're going to
do, then. We are going to require the parties to exchange
exhibits and file a final exhibit list by July 8th, also file a
final witness list by July 8th. I will require all witnesses
to appear in person for testimony.
MR. THOMAS: Your Honor, could I ask one request? |

THE COURT: Sure.

MR. THOMAS: You are -- not knowing the circumstances
of what's going on, there's a -~ I'm -- also filed my case in
the Oakland court, as you know, where these -- Mr. Hartman and

Mr. Silver and the judge are all defendants in this case. And
there's ongoing hearings in the other case too, which are on
the 28th.

And for somebody with a disability taking on all the
replies that I have to do, that's a very short time. And I'm
asking that -- if you could push it out at least one more
month. Give me until August 19th instead of until the -- July
19th, because I have a lot of documents that I still need to
get filed in the court for the Oakland hearing, a tremendous
amount of documents, reply briefs for Mr. Hartman trying to get
out of the case, saying that he has immunity. You know, I have
to file another amended complaint in that case, because we only
did a placeholder filing for our original lawsuit, so it has to
be amended.

And then there's the judicial notice motion that

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needs to be filed in that case. And then all that has to be
ruled on and all that has to be done before June 28th, which is
going to consume all of my time in between now and June 28th.

MR. SILVER: Your Honor, this is Wayne Silver,
telephonically. And I'd like to make a comment about what
Mr. Thomas just said.

Your Honor, I'm a named defendant in that lawsuit.

It is pending in the District Court, Northern District of
California in Oakland. And as a matter of fact, Your Honor,
the judge in that hearing entered an order specifically stating
that nothing further was to be filed between now and the
hearing.

Mr. Thomas has totally misrepresented what is
happening in that case. And I will be happy to provide a copy
of that order to this Court.

MR. THOMAS: He did not say that I could not file a
Judicial notice motion in that order, Mr. Silver. He did not.

THE COURT: Okay. Thank you.

MR. THOMAS: And I need to file it --

THE COURT: Thank you. Thank you, Mr. Thomas. I'd
like to hear from Mr. Hartman.

So the suggestion has been made to continue it to the
August calendar. Mr. Hartman, your response.

MR. HARTMAN: Well, Your Honor, I -- I'm reluctant to

do that, because sometime in August there will be another

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reason for Mr. Thomas to ask that this be kicked down the road.
And although I hate to burden the Court with another
piece of information, Mr. Thomas also has a petition for
certiorari pending with the United States Supreme Court

regarding the matter he referred to in Santa Clara County. And

so that is out there as well. And he believes that -- I
think -- that if the Supreme Court were to grant cert, then a
year or two from now the court -- the Supreme Court might say

that the judgment obtained in Santa Clara County was
fraudulently obtained, and this whole chapter -- bankruptcy
case could go away.

I don't see it, and I don't know that we can hold up
the process in the trustee's obligations to allow all these
things to unfold according to Mr. Thomas's time frame.

MR. THOMAS: Your Honor, the case in Santa Clara, I
believe, will be turned over because the fraud that was
procured in Santa Clara. My attorney was told through the
State Bar the day before that he was not allowed to try the
case, and they settled it the next day --

THE COURT: You may well have --

MR. THOMAS: -- on the record --

THE COURT: -- an action against your attorney,

Mr. Thomas, but you are in bankruptcy. The bankruptcy has been
around for quite a period of time. I believe it was filed in

2014. The motion to sell has been on the docket since

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November, I believe. It's gone through several hearings,
including an evidentiary hearing, so it is getting a second
bite at the apple.

Again, much of this is for naught if there is no
actual offer on the table. We need to know whether there's an
actual offer on the table. That's the very first thing we must
know. So I appreciate that. I am sympathetic. But this
matter is prepared. There is actually nothing that should
happen that is new, unless and until somebody comes in to bid
higher.

So this matter is ready to be heard. It needs to be
heard. I am sympathetic to your situation, but honestly, there
really isn't a whole lot that should need to be done. And so
the court's going to keep it on for July 19th. It gives you 40
days or more to prepare.

I understand that you may have additional matters
going on, but everybody has additional matters going on. So
the time has come to get this resolved. We will get it
resolved. And we'll --

MR. THOMAS: Your Honor, could you respectfully --

THE COURT: -- just see what we can --

MR. THOMAS: Could you respectfully give me until
August?

THE COURT: No. July 19th.

MR. HARTMAN: Your Honor, may I make a suggestion?

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THE COURT: Yes, Mr. Hartman.

MR. HARTMAN: As you know, there are extensive briefs
on file with respect to the motion. And it -- I don't want to
have the Court have to be burdened with additional motions that
repeat everything. So if -- unless somebody has something new
to inject into the process, I would suggest that each party's
papers refer to every docket entry that they would like to have
the Court consider, so that nothing's repeated.

THE COURT: Well, I appreciate that. I agree. But
really, again, there should be no additional -- we've had
briefing. We've had --

MR. HARTMAN: I under --

THE COURT: -- an opposition. You've opposed
actually that opposition as untimely. That matter was argued.
So there's really nothing on the legal side to do.

What we really need to do is see if anybody else is
willing to pay more than what the current bid was. As --

Judge Beesley referred to it as the stalking-horse; that's
exactly what it is. And unless and until something happens,
there really shouldn't be anything other -- you know, to do in
preparation other than to bring the people that are going to
testify to the hearing.

And what I will do was -- is require a final witness
list and exhibits by July 8th, and that's all. I'm not going

to require declarations; people show up. This is a contested

 

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matter. It is just a contested matter. It is not a trial.

So we will exchange exhibits so you know the
exhibits. You'll get a list of people that are going to
appear. And if they're on the list, they better appear. All
right? I don't want you -- I don't want people putting every
possible person in the world that might appear. You better
have a good faith basis for putting them on there, and I better
see them in the courtroom on July 19th at one o'clock.

MR. HARTMAN: So again, to be clear, there's really
no further briefing on legal issues, there's just the fact
issues and the witnesses.

THE COURT: Not unless something happens.

MR. HARTMAN: Right. Okay.

THE COURT: All right. And I don't discount that
something could happen. But, you know, you better have
something new to say if you file it.

So if Mr. Thomas wants to make a motion for the Court
to appoint counsel for reasons, that's new. Okay. Let --
let's put that on the record, and we will deal with that. But
enough has been said on this, right?

And I -- that's why I led with -- I understand
there's a challenge to notice. I understand there's a
challenge to the actual sale itself and that it's not
generating enough money. And then there's a challenge as to

the expenses to be paid to the auctioneer. Those are the

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matters that have been raised. Those are the matters that are
going forward. Ostensibly, the good faith of the purchaser is
at issue, and I'll expect testimony on that. But those are the
matters there.

So there's not anything that I'm aware of that needs
further briefing, unless something should happen.

MR. HARTMAN: Very well, Your Honor.

MR. THOMAS: And there was one more matter,

Your Honor, which was that they didn't use the proper process
for picking an auctioneer that was qualified to get the most
money for it, to -- you know, we had Overstock.com that was
going to do a worldwide tour of the emerald, and had mentioned
that they thought that they could get over 200 million for it,
you know, and they -- they've got 20,000 for it.

THE COURT: Well, that, I take, Mr. Thomas, as
falling into, you know, just another variation of they didn't
get enough money for it.

MR. THOMAS: Well, but -- because it wasn't promoted.
Nobody knew about it. The only people that knew about it was
Silver and Trazini. They were the only people notified about
the sale.

THE COURT: And that's what I'm telling you,

Mr. Thomas. Now you get to notify people that there'll be a
new sale at -- on July 19th, 2019, at one o'clock, if they meet

those requirements. And if this is worth however millions that

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it is worth, then there should be plenty of people willing to

pay more than 20- or $25,000. That will be the proof in the

pudding.

MR. THOMAS: Your Honor, though, the --

THE COURT: And with that --

MR. THOMAS: It --

THE COURT: -- I think that --

MR. THOMAS: I won't get -- Your Honor, I'd like to
object on the basis that I have no right to -- since you have
it in the trustee's hands, to promote it. You know, it's the

trustee's job to promote it and get the money for it; it's not
mine. It's their job to promote it around the world and get
the best auctioneer.

THE COURT: Okay.

MR. THOMAS: And that's not happening, and that's
what I'm objecting on. We had an auctioneer --

THE COURT: That --

MR. THOMAS: -- that was willing to do all that for
us.

THE COURT: Okay. So, Mr. Hartman, you'll prepare
the order on the terms and conditions of the auction in
anticipation of the notice. Court will prepare its own very
short order on the scheduling of this, including the deadline
to file exhibit lists and witness lists by July 8th and

exchange and mark exhibits for presentation by July 8th as

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well.

The exhibits that were admitted into evidence
previously will be deemed -- will continue over as evidence in
the continued hearing. All right.

Thank you very much. You've given me much to think
about. I look forward to moving this along promptly. But that
will end the hearing for today. And we'll be adjourned.
Parties on the phone can hang up.

MR. THOMAS: Thank you, Your Honor.

MR. SILVER: Thank you.

MR. HARTMAN: Thank you, Your Honor.

THE COURT: Thank you.

MR. SILVER: Thank you, Your Honor.

THE COURT: Madam Clerk, I'll go ahead and hang up as
well.

(Proceedings concluded at 2:59 p.m.)

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CERTIFICATION

 

I, Lisa Luciano, court-approved transcriber, hereby
certify that the foregoing is a correct transcript from the
official electronic sound recording of. the proceedings in the

above-entitled matter, and to the best of my ability.

 

 

TIN ff
LISA LUCIANO, AAERT NO. 327 DATE: July 3, 2019

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CERTIFICATE OF SERVICE

{ | certify that | am an adult, over the age of 18 years, not a party to the action herein who resides in _
| p Washoe Courty, Nevada. | caused to be served the reset ka documents Via e-mail and U.S. Mail fo the

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263. 1 declare under penalty of perjury that the foregoing: is true and correct.
27-4: Dated: 2-14-2014
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_ KATHERINE THOMAS

 

 
